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 1   THOMAS E. MONTGOMERY, County Counsel (State Bar No. 109654)
     County of San Diego
 2   By MELISSA M. HOLMES, Senior Deputy (State Bar No. 220961)
        JENNIFER M. MARTIN, Deputy (State Bar No. 322048)
 3   1600 Pacific Highway, Room 355
     San Diego, California 92101-2469
 4   Telephone: (619) 531- 4901; Fax: (619) 531-6005
     E-mail: melissa.holmes@sdcounty.ca.gov
 5
 6   Attorneys for Defendants County of San Diego, Sheriff William Gore, Alfred Joshua,
     M.D., and Barbara Lee
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   FRANKIE GREER,                           )   No. 19-cv-00378-GPC-AGS
                                              )
12                                            )   MEMORANDUM OF POINTS AND
                  Plaintiffs,                 )   AUTHORITIES IN SUPPORT OF
13         v.                                 )   DEFENDANTS COUNTY OF SAN
                                              )   DIEGO, SHERIFF WILLIAM GORE,
14                                            )   ALFRED JOSHUA, M.D., AND
     COUNTY OF SAN DIEGO,                     )   BARBARA LEE’S MOTION TO
15   WILLIAM GORE in his individual           )   DISMISS AND STRIKE PLAINTIFF’S
                                              )   COMPLAINT
     capacity, ALFRED JOSHUA, in his          )
16   individual capacity, BARBARA             )   [Fed.R.Civ.P., 12(b)(6) & 12(f)]
17   LEE, in her individual capacity, and     )
                                              )   Date: August 23, 2019
     DOES 1-100,                              )   Time: 1:30 p.m.
18                 Defendants.                )   Courtroom: 2D
19                                            )   Judge: Hon. Gonzalo P. Curiel
                                              )
                                                  Trial Date: None
20                                            )   NO ORAL ARGUMENT PURSUANT
                                              )   TO LOCAL RULE 7.1(D)(1)
21                                            )
22                                            )

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 1                                                 I.
 2                                        INTRODUCTION
 3         Defendants respectfully request the Court to grant their motion to dismiss Plaintiff
 4   Frankie Greer (“Plaintiff”) suit against the County of San Diego (“County”), Sheriff
 5   William Gore, Barbara Lee, and Alfred Joshua, M.D. (collectively, “Defendants”). [ECF
 6   No. 1 (Complaint).] Plaintiff, who is a former inmate in the San Diego Central Detention
 7   Facility (“SDCJ”), is suing for injuries resulting from an alleged fall off a top bunk in a
 8   jail cell at the SDJC.
 9         Plaintiff alleges eight claims against multiple defendants including: (1) deliberate
10   indifference to medical needs under 42 U.S.C. section 1983; (2) failure to train under §
11   1983; (3) failure to supervise under § 1983; (4) failure to investigate under §1983; (5)
12   Monell under § 1983; (6) negligence; (7) disability discrimination in violation of the
13   Americans with Disabilities Act; and (8) the Rehabilitation Act (“ADA”). The wide-
14   sweeping and conclusory nature of the allegations results in a number of improper and
15   unsupported claims for relief against Defendants.
16         The Complaint fails to adequately allege supervisory liability against Sheriff
17   William Gore (“Sheriff Gore”), Dr. Alfred Joshua (“Dr. Joshua”), or Medical
18   Administrator Barbara Lee (“Lee”). The claims against Sheriff Gore, Dr. Joshua, and
19   Lee should be dismissed because insufficient facts are alleged to satisfy the objective
20   deliberate indifference standard by any of the Defendants or causation between their
21   alleged actions and Plaintiff’s harm. The negligence claim is also warrants dismissal
22   because there are insufficient allegations of duty and causation as these defendants.
23         The allegations against the County also fail to state a claim. A claim for deliberate
24   indifference to medical care is not cognizable against the County. Plaintiff’s claims for
25   “failure to properly train,” “failure to properly investigate,” “failure to properly supervise
26   and discipline,” and Monell liability are not cognizable because the Complaint fails to
27   allege facts to support causation and fails to sufficiently allege prior similar prior
28   constitutional violations. The wrongful death and negligence claims also fail as a matter

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 1   of law because the County is immune from state law claims based on injuries to inmates
 2   under Government Code sections 844.6 and 845.2. Similarly, the Plaintiff’s ADA and
 3   Rehabilitation Act claims fail because the Complaint lacks factual allegations disability
 4   or discriminatory animus.
 5         The Complaint also contains numerous allegations that are improper and should be
 6   stricken under Rule 12(f) as they are immaterial. These include, allegations regarding
 7   other lawsuits, deaths, news articles, investigative bodies, and prior litigation decisions.
 8   Similarly, the punitive damages sought against the individual defendants are not
 9   supported by the allegations.
10         Lastly, the requests for injunctive and declaratory relief are moot and should be
11   dismissed.
12                                                II.
13                           ALLEGATIONS IN THE COMPLAINT
14         On January 31, 2018, Plaintiff Frankie Greer was arrested because of an incident
15   with a neighbor. [ECF No. 1, Compl., at ¶ 22.] He was taken to the San Diego Central
16   Jail (“SDJC”). Id. at ¶ 23. During the booking process, Plaintiff allegedly informed
17   intake nurses that he suffered from seizures and had been prescribed Keppra for his
18   seizure disorder. Id. at ¶¶ 26-27. Greer claims that the nurse who performed his intake
19   documented his need for a lower bunk in his medical records but did not input his need
20   for a lower bunk into the Jail’s Information Management System (JIMS). Id. at ¶¶ 28-29.
21   Staff failed to give him his prescribed medication in between when he was booked on
22   January 31, 2018, and when he suffered a seizure the next day, February 1, 2018. Id. at
23   ¶¶ 24, 27, 48.
24         Plaintiff was assigned a top bunk when he was assigned to a cell. [ECF No. 1 at ¶
25   32.] Plaintiff alleges that he complained to unknown “Deputies” about the bunk
26   assignment and told them he suffered from seizures and had fallen off of a top bunk
27   before. Id. at ¶ 33-34. However, his bunk assignment was not changed. Id.
28   ///


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 1          On February 1, 2018, Plaintiff suffered from a seizure. ECF No. 1 at ¶¶ 19, 35.]
 2   Plaintiff fell from the top bunk in his jail cell to the concrete floor and was seriously
 3   injured Id. at ¶¶ 36, 45.
 4          After the incident, Plaintiff alleges that the medical response to his cell was
 5   delayed because the intercom to the cell was silenced and his cellmates could not contact
 6   the deputies. [ECF No. 1 at ¶ 36-44.] The silent intercom was against policy. Id. at ¶¶
 7   42-44 . Plaintiff alleges that the jail staff also failed to notify his family after his injury.
 8   Id. at ¶ 49. He alleges that a nurse at the UCSD hospital had to use social media to alert
 9   his family because the intake nurse did not properly document his next of kin when he
10   was booked into the SDCJ. Id. at ¶ 49-50.
11          The individual defendants are purportedly sued in their individual capacity for their
12   personal actions under a theory of supervisory liability. [ECF No. 1 at ¶ 12.] Plaintiff
13   argues, without providing specific facts that “there has been systematic failure” to adhere
14   to policies regarding: housing, security, and inmate healthcare, as well as a failure to
15   investigate incidents, inadequate investigations, failures to discipline staff, and cover-ups.
16   Id. at ¶¶ 59-60, 65. Plaintiff alleges that Sheriff Gore, Lee, and Dr. Joshua, set unnamed
17   “policies and procedures” that ensured Plaintiff received no medical care. Id. at ¶¶ 157.
18   William Gore is the elected Sherriff. Id. at ¶¶ 9, 58. Dr. Joshua was the Medical
19   Director for the Sherriff’s Department. Id. at ¶¶ 10, 57. Barbara Lee was a Medical
20   Administrator for the Sherriff’s Department. Id. at ¶¶ 10, 57.
21          A series of dissimilar events is recited as the basis for these conclusions including:
22   a survey about falls in jails [ECF No. 1 at ¶ 56], statistics on deaths in County jails [¶¶
23   61-62], anecdotes about suicides in jails [¶¶ 79-81, 89-90], litigation conduct in an
24   unrelated suicide case [¶¶ 82, 95], complaints by unnamed individuals about jail
25   conditions [¶64], statistics and anecdotes about deaths from drug overdoses and
26   withdrawals [¶¶ 69, 75, 76-78], anecdotes about deaths from use of force incidents [¶ 68],
27   two deaths caused by failure to pass down information at shift change [¶¶ 78, 84- 88],
28   and unimplemented recommendations about shift change procedures and reporting to an

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 1   advisory board that is understaffed [¶¶ 70-73, 97-104]. The Complaint also claims that
 2   there was one other fall off a top bunk in the jail in 2017 resulting in injury [id. at ¶ 92]
 3   and a group criticized the jails’ “clinical referral and evaluation process” in 2016 [¶ 105-
 4   107].
 5                                   III.
 6            TO SURVIVE A MOTION TO DISMISS, A COMPLAINT MUST HAVE
              MORE THAN NAKED ASSERTIONS, LEGAL CONCLUSIONS, AND A
 7                     FORMAL RECITATION OF THE ELEMENTS
 8           Federal Rule of Civil Procedure (“Rule”) 12(b)(6) provides that a complaint may
 9   be dismissed for failure to state a claim upon which relief can be granted. A Rule
10   12(b)(6) motion to dismiss challenges the legal sufficiency of the complaint. Ileto v.
11   Glock, Inc., 349 F.3d 1191, 1199-1200 (9th Cir. 2003). A complaint may be dismissed as
12   a matter of law if it lacks a cognizable legal theory, or if it lacks sufficient facts under a
13   cognizable theory. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).
14           In reviewing the motion, the court must assume the truth of all factual allegations
15   in the complaint and must construe them in the light most favorable to the non-moving
16   party. Gompper v. Visx, Inc., 298 F.3d 893, 895 (9th Cir. 2002). However, a complaint’s
17   allegations must show that the plaintiff is entitled to more than merely speculative relief.
18   In fact, “some threshold of plausibility must be crossed at the outset” before a case can go
19   forward. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007). To meet this “facial
20   plausibility” standard, a complaint must contain “factual content that allows the court to
21   draw the reasonable inference that the defendant is liable for the misconduct alleged.”
22   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This standard “asks for more than a sheer
23   possibility that a defendant has acted unlawfully” and requires facts that are more than
24   “merely consistent with” a defendant’s liability. Id.
25           In addition, vague and conclusory allegations concerning government involvement
26   in civil rights violations are not sufficient to withstand a motion to dismiss. Ivey v. Bd. of
27   Regents of Univ. of Alaska, 673 F.2d 266, 268 (9th Cir. 1982). “Nor is the court required
28   to accept as true allegations that are merely conclusory, unwarranted, deductions of fact,

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 1   or unreasonable inferences.” Sprewell v. Golden State Warriors, 266 F.3d 969, 988 (9th
 2   Cir. 2001). Finally, the court is not bound to accept as true legal conclusions couched as
 3   factual allegations, if those conclusions cannot be reasonably drawn from the alleged
 4   facts. Cholla Ready-Mix Inc. v. Civish, 382 F.3d 969, 973 (9th Cir. 2004).
 5          The complaint will not survive a rule 12(b)(6) motion “if it tenders naked
 6   assertions devoid of further factual enhancement” or if it contains a merely “formulaic
 7   recitation of the elements of a cause of action.” Twombly, 550 U.S. at 555. Federal Rule
 8   of Civil Procedure 8(a)(2) requires pleadings to contain a “short and plain statement of
 9   the claim showing that the pleader is entitled to relief.” Although Rule 8 does not require
10   detailed factual allegations, plaintiff must allege “more than an unadorned, the-defendant-
11   unlawfully-harmed-me accusation.” Iqbal at 1949.
12                                                IV.
13                                          ARGUMENT
14   A. Plaintiff’s Claims Against The Individual Defendants Should Be Dismissed As
15      They Fail To Allege Facts Necessary To Support Liability.
16          Sheriff Gore, Lee, and Dr. Joshua are sued in their individual capacity for their
17   personal actions under a theory of supervisory liability. [ECF No. 1 at ¶ 12.] The claims
18   against the individual defendants should be dismissed because they were not personally
19   involved in any of Plaintiff’s claims, there are no facts to support supervisory liability,
20   and the claims against these defendants in their official capacity are duplicative of claims
21   against the County. 1 Further, there is no basis for a claim against individual supervisors
22   for failure to investigate.
23          Regardless of what rank a local government employee holds in the government
24   hierarchy, “[l]iability under section §1983 arises only upon a showing of personal
25
     1
      Plaintiff only alleges claims against Sheriff Gore, Lee and Dr. Joshua in their individual
26   capacity. [ECF No. 1 ¶ at 12.] However, he also alleges that these individuals were the
27   policy makers for the County. [Id. at ¶ 9, 10, 57, 58.] If these allegations are construed as
     Plaintiff also bringing claims against these defendant in their official capacity as policy
28
     makers for the County, all such claims should be dismissed because Plaintiff has made
     duplicative allegations against the County. [Id. ¶¶ 234-258].
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 1   participation by the defendant.” Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989); See
 2   also Palmer v. Sanderson, 9 F.3d 1433, 1438 (9th Cir. 1993) (explaining that a “state
 3   statute imposing vicarious liability on a sheriff for the conduct of his or her deputies is
 4   ‘inconsistent with the . . . laws of the United States…’”). Knowledge of an overall
 5   problem is not sufficient to show personal participation. See Taylor at 1046.
 6          For supervisory officials, supervisory liability can exist “without overt personal
 7   participation in the offensive act” when “supervisory officials implement a policy so
 8   deficient that the policy itself is a repudiation of constitutional rights and is the moving
 9   force of the constitutional violation,” Hansen v. Black, 885 F.2d 642, 646 (9th Cir.
10   1989)(citing Thompkins v. Belt, 828 F.2d 298, 303-04 (5th Cir, 1987)). To impose such
11   supervisory liability without establishing personal participation, the plaintiff must show
12   that the supervisory official knew the policy was so deficient to be unconstitutional and
13   failed to correct it, which caused the plaintiff’s injury. Thompkins v. Belt, 828 F.2d 298,
14   304 (5th Cir. 1987). And “existence of a constitutionally deficient policy cannot be
15   inferred from a single wrongful act.” Id. Here, Plaintiff does not identify a policy so
16   obviously deficient that it would put the individual defendants on notice of need for
17   correction.
18          The motion to dismiss should be granted because the Complaint does not involve
19   personal participation by these defendants nor does it involve a sufficient causal
20   connection between their actions or knowledge of unconstitutional policies and Plaintiff’s
21   injuries.
22          1. The first claim for deliberate indifference to medical needs does not allege
23               personal involvement necessary for either direct or supervisory liability.
24          There are no facts supporting liability against any of the individual defendants for
25   their direct provision or denial of medical care to Plaintiff. Deliberate indifference to an
26   inmate’s serious medical needs may be manifested in two ways: the intentional denial,
27   delay, or interference with a plaintiff's medical care, or by the manner in which the
28   medical care was provided. See Estelle v. Gamble, 429 U.S. 97, 104-106 (1976).

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 1   Deliberate indifferent to medical care claims by pretrial detainees against an individual
 2   for medical care must show: (i) the defendant made an intentional decision about
 3   plaintiff’s condition of confinement; (ii) the conditions put the plaintiff at substantial risk
 4   of suffering serious harm; (iii) the defendant did not take reasonable available measures
 5   to abate that risk, though a reasonable official would have. Gordon v. County of Orange,
 6   888 F.3d 1118, 1125 (9th Cir. 2018). Here, there are no allegations that Dr. Joshua, Lee,
 7   or Sheriff Gore either directly or indirectly, participated in Plaintiff’s intake, housing
 8   assignment, or medical response while he was in custody at SDCJ. Rather, it is unnamed
 9   intake “medical staff,” a “housing deputy” and an individual manning the intercom who
10   were involved with Plaintiff. [ ECF No. 1 at ¶¶ 118-127.] In other words, there is no
11   evidence that intentional treatment decisions by Dr. Joshua, Lee, or Sheriff Gore put
12   Plaintiff at substantial risk of suffering serious harm.
13         Similarly, there are no facts alleged that support the individual defendants
14   “participated in or directed the violations” or that they knew a “policy was so deficient to
15   be unconstitutional and failed to correct it” as required for a claim of supervisory
16   liability. Taylor, 880 F.2d at 1045. There is no allegation that they knew of or directed
17   any actions by jail staff involving Plaintiff. Rather, the allegations about these
18   defendants hinge on their involvement with policies.
19         Plaintiff alleges the individual defendants failed to “properly set forth policies and
20   procedures for proper care of inmates” and that they knew that unnamed policies
21   regarding “oversight” were “grossly inadequate” for unspecified reasons. [ECF No. 1 at
22   ¶¶ 150-152.] Plaintiff goes on to argue the individual defendants knew of injuries to
23   inmates “due to lack of communication,” issues involving sharing information during
24   shift change, and instances of staff failing to access information in JIMS. [ECF No. 1 at
25   ¶¶ 151-153.] Such allegations are conclusions. The alleged deficient policies and
26   procedures are never identified. Further Plaintiff’s reasoning is flawed: knowledge of
27   dissimilar injuries in the jail resulting from an alleged lack of communication is not the
28   same as knowledge that a policy in place was unconstitutional or a policy was the cause

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 1   of the injury or a constitutional violation (medication administration, top bunk placement,
 2   and issues with an intercom). Further, the prior instances claimed to be the basis for the
 3   individual defendant’s “knowledge” of a deficient policy (suicides, drug overdoses) are
 4   so dissimilar that they cannot be the basis for knowledge about an unconstitutional policy
 5   in this case.
 6          Finally, Plaintiff does not allege a connection between any policy, including an
 7   “oversight” policy and a failure to administer the seizure medication to Plaintiff.
 8   Similarly, there is no policy described that drove the placement of Plaintiff in the top
 9   bunk, made staff fail to record Plaintiff’s information, or required a delayed response to
10   his cell. Quite the opposite, Plaintiff admits that these events were “failures” by staff to
11   comply with “requirements.” [ECF No. 1 at ¶¶ 24, 27-29, 42-44.]
12          2. The second claims for failure to train does not allege personal involvement
13             necessary for supervisory liability, a policy that is a repudiation of
               constitutional rights, or causal connection between the failure to train and the
14             violation.
15          Plaintiff merely states that there was a failure to supervise but does not “allege
16   sufficient facts to plausibly establish the defendant's ‘knowledge of’ and ‘acquiescence
17   in’ the unconstitutional conduct of his subordinates.” Hydrick v. Hunter, 669 F.3d 937,
18   942 (9th Cir. 2012). Plaintiff alleges—without factual support—that Defendants failed to
19   “maintain adequate and proper training ... as to the Constitutional rights of inmates” [ECF
20   No. 1 at 163], and knew of a pattern and history of failure to communicate medical
21   history for inmates and that inmates suffering from seizures should not be placed on top
22   bunks [ ¶ 164-168], and that deputies had not been conducting proper cell check, and that
23   defendants “failed to promulgate corrective policies and regulations” [ ¶ 176]. Plaintiff
24   avers that Sheriff Gore failed to train on proper cell checks and that Sheriff Gore, Lee,
25   and Dr. Joshua “failed to train doctors and nurses on the necessary care of inmates
26   suffering from serious medical conditions” including documenting information and
27   “failed to implement policies and procedures with respect to proper training” on the
28

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 1   topics of placing inmates on the top bunk, medical documentation, and communicating
 2   medical information. [Id. at ¶¶ 177-180, 183.]
 3         However, these allegations fail to state in what way Defendants failed to train,
 4   what specific role, if any, Dr. Joshua, Lee, and Sheriff Gore played with respect to the
 5   training, and how the inadequate training tied into the specific conduct of jail medical
 6   staff on the date of the incident. There are no facts plead in the complaint that the nurse
 7   who interviewed Plaintiff did not know how to record his information in JIMS, was
 8   improperly trained on administering medication, or that deputies failed to move Plaintiff
 9   to a lower bunk and silenced the intercom because of training. Nor is there a clear and
10   concise description of the specific actions each individual defendant is alleged to have
11   committed that was the moving force behind the purported violation. Absent such
12   allegations, the Court cannot infer that Defendants set in motion a “series of acts by
13   others which [Defendants knew] or reasonably should [have known]” would cause injury
14   to Plaintiff from alleged failure to provide medical care. Johnson v. Duffy, 588 F.2d 740,
15   743-744 (9th Cir. 1978).
16         3. The third and fourth claims for failure to supervise and investigate do not allege
17             personal involvement necessary for supervisory liability.
18         The third and fourth claims allege that the individual defendants failed to provide
19   adequate supervision to medical staff [ECF No. 1 at ¶ 190], ratified employee misconduct
20   [ ¶ 191], and failed to investigate misconduct or take remedial steps against subordinates,
21   resulting in a toxic culture [¶¶ 194, 224, 227-233]. Though sensational, these conclusory
22   allegations, again, fail to state facts supporting the connection between the individual
23   defendants, these purported failures, and the injury to Plaintiff. What Lee, Sheriff Gore,
24   or Dr. Joshua actually did to fail to supervise, ratify, or investigate is omitted.
25   Conclusions supplant facts in these claims.
26         This is unsurprising, since close inspection of the examples in the Complaint that
27   comprise the basis for these “failures” show that they are dissimilar from the incident, do
28   not involve actions by the individual defendants, and do not involve constitutional

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 1   violations. The improper actions alleged in these claims do not show that these failures
 2   have led to even a single constitutional violation, let alone one like that alleged in this
 3   action. The majority of the alleged customs and practices relate to various other unrelated
 4   and dissimilar incidents such as suicides and drug overdoses. Many of the examples do
 5   not involve constitutional violations, such as the failure to tell a family about the details
 6   of an inmate death, or the decision to fund an advisory board. [ECF No. 1 at ¶ 206.]
 7   Many of the allegations do not involve the individual defendants at all, such as the policy
 8   decisions regarding the CLERB or the actions of counsel in litigation. Id. at ¶ 210-215.
 9         There is also no factual support showing how the actions of the individual
10   defendants were the “moving force” behind the constitutional violation presently at issue
11   in the complaint. For example, it is unclear how an alleged custom and practice or
12   “hiding evidence” and “lying under oath” was the moving force behind Plaintiff not
13   receiving a bottom bunk or his seizure medication. The allegations in the Complaint
14   involve only the alleged failure to administer medication and failure to discipline that
15   caused this failure is identified. However, Plaintiff alleges the bunk placement caused
16   him harm, yet none of the claimed other unconstitutional incidents of failure to discipline
17   or supervise involved improper placement in top bunks. Similarly, there are no other
18   instances described regarding the silent intercom that would support the conclusion that
19   the individual knew that the intercom was silenced, or acquiesced in the silencing through
20   failing to discipline staff. [ECF No. 1 at ¶¶175-176.]
21         Such bare-bones, conclusory allegations without any specific factual foundation
22   cannot support Plaintiff’s claims against the individual defendants. Complaints must
23   contain factual content that allows the court to draw a reasonable inference that the
24   defendant is liable for the misconduct alleged. Iqbal, 129 S.Ct. at 1949. Here, there is
25   no factual content at all except conclusory and generalized allegations. The Court should
26   not accept these allegations at true, and should require Plaintiffs to supply specific factual
27   allegations to support their claims.
28   ///

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 1   B. The First Through Fifth Claims Against The County Do Not Allege Sufficient
        Facts To Support Liability.
 2
 3                1. Plaintiff’s first claim for deliberate indifference to medical needs claim
                     cannot be alleged against the County and is duplicative of Plaintiff’s
 4                   other municipal liability claims.
 5         Monell established that municipalities can be liable for infringement of
 6   constitutional rights only under certain circumstances. Monell v. Dep't of Soc. Servs. of
 7   City of New York, 436 U.S. 658, 690-695 (1978). A municipality may not, however, be
 8   sued under a respondeat superior theory. Id. at 693–95. A plaintiff must show “deliberate
 9   action attributable to the municipality [that] directly caused a deprivation of federal
10   rights.” Bd. of Cty. Comm’rs v. Brown, 520 U.S. 397, 415 (1997). “Where a court fails to
11   adhere to rigorous requirements of culpability and causation, municipal liability collapses
12   into respondeat superior liability.” Id.
13         Plaintiff’s first claim for deliberate indifference is pled against the County but is
14   duplicative of his municipal liability his fifth claim for relief (Monell). Plaintiff alleges
15   negligent actions by County employees that caused this injury. [ECF No. 1 at ¶113-143.]
16   Plaintiff does not identify specific policies and procedures to support the claim. Id. at ¶¶
17   149-160. Rather, the claim states that individuals’ failures to comply with County
18   policies caused the incident. Id. at ¶¶ 122-124, 131, 136-138. Plaintiff’s deliberate
19   indifference to medical care claim is therefore, not cognizable directly against the County
20   under Monell.
21              2. The second, third, and fourth claims should be dismissed because they
                   lack factual allegations setting forth causation or a pattern of similar
22                 constitutional violations.
23         Under §1983, a municipality cannot be held responsible for the acts of its
24   employees under a respondeat superior theory of liability. See Board of County
25   Commissioners v. Brown, 520 U.S. 397, 403 (1997); Monell v. Department of Social
26   Services, 436 U.S. 658, 691 (1978); Webb v. Sloan, 330 F.3d 1158, 1163-64 (9th Cir.
27   2003). A municipality can be sued directly under section §1983 only where the alleged
28   unconstitutional conduct is the result of an official policy (Monell model) or as a result of

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 1   a pervasive practice (Canton model); and the policy or practice was the “moving force”
 2   behind the violation. See Canton v. Harris, 489 U.S. 378, 389-91 (1989); Brown, 520
 3   U.S. at 404; Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996). In cases involving a
 4   pervasive practice, a plaintiff must prove a pattern of similar constitutional violation i.e.,
 5   multiple instances of harm) from which it can be plausibly shown that the challenged
 6   practice or custom was the moving force of the constitutional violation, and municipal
 7   decision makers were on notice. See Brown, 520 U.S. at 407-08. Therefore, a showing of
 8   deliberate indifference to the pervasive pattern and practice is ordinarily necessary to
 9   trigger municipal liability. Id.
10         The mere allegation of “failure to train” does not state a constitutional claim
11   against a municipality. City of Canton v. Harris, 489 U.S. 378, 390-391 (1989). Indeed,
12   the Supreme Court has expressly noted that “[a] municipality’s culpability for a
13   deprivation of rights is at its most tenuous where a claim turns on a failure to train.”
14   Connick v. Thompson, 131 S.Ct. 1350, 1359-60 (2011). A plaintiff alleging failure to
15   train must show: (1) the training program must be inadequate “‘in relation to the tasks the
16   particular officers must perform’”; (2) the city officials must have been deliberately
17   indifferent “‘to the rights of persons with whom the [local officials] come into contact’”;
18   and (3) the inadequacy of the training “must be shown to have ‘actually caused’ the
19   constitutional deprivation at issue.” Merritt v. City of Los Angeles, 875 F.2d 765, 770 (9th
20   Cir. 1989) (internal citations omitted). As the Supreme Court and Ninth Circuit have
21   highlighted, “[o]nly where a municipality’s failure to train its employees in a relevant
22   respect evidences a ‘deliberated indifference’ to the rights of its inhabitants can such a
23   shortcoming be properly thought of as a [municipal] ‘policy or custom’ that is actionable
24   under § 1983.” City of Canton, 489 U.S. at 389; Long v. County of Honolulu, 511 F.3d
25   901, 907 (9th Cir.2007).
26         In Canton, the Supreme Court applied these requirements in the context of failure
27   to train, however, this same analysis has “since been applied to negligent supervision and
28   hiring claims, too.” See Van Ort v. Estate of Stanewich, 92 F.3d 831, 835 (9th Cir. 1996)

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 1   (citing Davis v. City of Ellensburg, 869 F.2d 1230, 1235 (9th Cir.1989) (negligent
 2   supervision); see Johnson v. City of Vallejo, 99 F. Supp. 3d 1212, 1218 (E.D. Cal. 2015)
 3   citing Hunter v. Cty. of Sacramento, 652 F.3d 1225, 1234 Fn. 8(9th Cir. 2011) (failure to
 4   investigate); see also Long v. City & Cty. Of Honolulu, 378 F. Supp. 2d 1241, 1247 (D.
 5   Haw. 2005), aff’d, 511 F.3d 901 (9th Cir. 2007) (failure to discipline.)
 6                3. The complaint lacks facts supporting causation.
 7         “In a § 1983 action, the plaintiff must also demonstrate that the defendant’s
 8   conduct was the actionable cause of the claimed injury.” Harper v. City of Los Angeles,
 9   533 F.3d 1010, 1026 (9th Cir. 2008). “Where the action taken or directed by the
10   municipality or its authorized decision maker itself violates federal law, resolving issues
11   of fault and causation is ‘straightforward’ because proof of such a violation ‘establishes
12   that . . . the municipal action was the moving force behind the injury of which the
13   plaintiff complains.’” Id. Thus, “[r]egardless of what theory the plaintiff employs to
14   establish municipal liability— policy, custom, or failure to train—the plaintiff must
15   establish an affirmative causal link between the municipal policy or practice and the
16   alleged constitutional violation.” Model Civ. Jury Instr. 9th Cir. 9.2 (2018); citing
17   Canton, 489 U.S. at 391-92; Van Ort, 92 F.3d at 835; Oviatt v. Pearce, 954 F.2d 1470,
18   1473-1474 (9th Cir. 1992). “That a plaintiff has suffered a deprivation of federal rights at
19   the hands of a municipal employee will not alone permit an inference of municipal
20   culpability and causation; the plaintiff will simply have shown that the employee acted
21   culpably.” Brown, 520 U.S. at 406–07 (emphasis in original.)
22         As discussed in the context of the claims against the individual defendants, and
23   addressed supra, the Complaint fails to allege a causal link between the purported lack of
24   training, supervision, and proper investigation relating to staff communication and
25   medical treatment, and Plaintiff’s injuries. Specifically regarding the failure to train
26   claim, Plaintiff repeatedly set forth conclusory statements regarding the alleged lack of
27   training, such as: “Defendants Gore, Lee, Joshua, and Does have failed to maintain
28   adequate and proper training necessary to educate deputies and medical staff as to the

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 1   Constitutional rights of inmates; to prevent the consistent and systematic failure to
 2   provide medical care.” [ECF No. 1 at ¶ 163.] Plaintiff then attempts to support causation
 3   by repeatedly alleging what Defendants knew. Id. at ¶ ¶ 166-175. Information known or
 4   unknown combined with conclusory allegations does not show that a systemic lack of
 5   training relating to the very specific facts presented in this case caused a constitutional
 6   deprivation. Plaintiff alleges that “Defendants Gore and Does failed to train their deputies
 7   on proper cell checks and the use of the intercom system despite their knowledge that the
 8   lack of training caused serious injuries and deaths.” Id. at ¶ 177. However, he has not
 9   presented any facts, that deputies training or lack thereof caused this constitutional
10   deprivation
11         This same logic applies to Plaintiff’s allegations regarding failure to properly
12   supervise, discipline, and investigate. For example, the complaint sets forth that
13   “Defendants were aware of long series of untimely and wrongful deaths in the San Diego
14   County Jails from lack of medical care and failed to properly supervise and discipline
15   their employees or agents.” [ECF No. 1 at ¶ 192.] The allegations that defendants failed
16   to supervise and discipline employees after a death or suicide case has no bearing on the
17   facts of the present case where Plaintiff sustained an injury due to a bunk assignment.
18   Under Plaintiff’s failure to investigate claim he states:
19         This is the circle of death. Because the County does not sufficiently
           fund or staff CLERB, it cannot complete investigations of the overwhelming
20         number of deaths in the Jails. Because culpable Jail staff are not disciplined, it
           creates a culture in which the staff violate the constitutional rights of inmates and
21         lie to cover it up without fear of discipline. This leads to further mistreatment of
           inmates/patients in which they die.”
22
     Compl. ¶ 224.
23
24         It is unclear how the above allegations caused the alleged breakdown of
25   communication alleged in the case. Understaffing and underfunding an investigative
26   agency has no relation to Plaintiff’s top bunk assignment. Moreover, the allegations that
27   do relate to present case facts are conclusory and fail to show Defendants have failed to
28   properly investigate claims with similar facts and only alleged a general “failure to

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 1   properly investigate.” For example, the Complaint states: “As a result of all Defendants’
 2   historical failure to properly investigate, Defendants were deliberately indifferent to the
 3   needs of Plaintiff Frankie Greer. The failure to investigate was the moving force behind
 4   the denial of medical care and the resulting pain and suffering.” [ECF No. 1 at ¶ 223.]
 5   Facts supporting this conclusion are not supplied.
 6          Plaintiff attempts to support causation by mixing conclusory statements with
 7   unrelated allegations to distract from the missing causal link between the County’s
 8   response to past incidents and Plaintiff’s injuries to support municipal civil rights
 9   liaiblity.
10          4.    No pattern of prior similar constitutional violations.
11          The Supreme Court in City of Canton, 489 U.S. 378, Bd. of Comm’rs of Bryan
12   County v. Brown, 520 U.S. 397 (1997), and Connick, 563 U.S. at 51 found that a pattern
13   of constitutional violations is required to demonstrate deliberate indifference for purposes
14   of failure to train. City of Canton stated that “a pattern of constitutional violations” could
15   put the municipality on notice that its officers confront a particular situation on a regular
16   basis, and that they often react in a manner contrary to constitutional requirements. City
17   of Canton, 489 U.S. at 397, emphasis added. If police “so often violate constitutional
18   rights” the entity may be on notice of a need for further training. Id. at 390 n. 10.
19          (‘[M]unicipal liability for failure to train may be proper where it can be
            shown that policymakers were aware of, and acquiesced in, a pattern of
20          constitutional violations ...’). The existence of a pattern of tortious conduct
            by inadequately trained employees may tend to show that the lack of proper
21          training, rather than a one-time negligent administration of the program or
            factors peculiar to the officer involved in a particular incident, is the
22          ‘moving force’ behind the plaintiff's injury.
23   Bryan County, 520 U.S. at 407–08. Thus, a plaintiff must prove a pattern of
24   constitutional violations from which it can be fairly shown that the challenged program or
25   custom was the moving force of the constitutional violation, and that municipal decision
26   makers were on notice that a new program was called for and their continued adherence
27   to an inadequate approach reflected their conscious disregard for the consequences of
28   their program. Id. In Connick, the Supreme Court repeated that “[a] pattern of similar

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 1   constitutional violations by untrained employees is ‘ordinarily necessary’ to demonstrate
 2   deliberate indifference for purposes of failure to train.” Connick, 563 U.S. at 62.
 3         As an initial matter, bare, and generalized statistics set forth in a local newspaper
 4   that involve jail deaths cannot be construed as prior similar constitutional violations
 5   because in-custody deaths may involve a variety of factors that have no relation to the
 6   situation in the present action (alleged failure to provide seizure medication and
 7   placement in a bottom bunk). Similarly, allegations involving CLERB, Disability Rights
 8   of California, and the Grand Jury also fail to show prior similar constitutional violations
 9   involving failing to provide seizure medication and appropriate bunk placement notation
10   in JIMS. The majority of cited prior incidences involve illicit drug overdoses or
11   withdrawals, psychiatric illness, and suicides. There are no facts alleged that Plaintiff
12   was on illicit drugs, suicidal, or needed psychiatric care. Prior incidences involving
13   deaths as a result of drug overdoses or withdrawals are not indicative of a pattern of
14   similar constitutional violations. Similarly, prior incidences involving inmate suicides are
15   also inapplicable. Plaintiff only sets forth one potentially related prior incident that
16   involve the inputting of medical information in the JIMS system – but that case involved
17   physicians, not a intake nurses’, use of JIMS (Nunez, ECF at ¶ 84). Moreover, Plaintiff
18   does not allege that there was a finding of a constitutional violation in Nunez that would
19   have put the County on notice.
20         One prior incident is insufficient to establish notice and do not satisfy Plaintiffs’
21   burden of pleading a pattern of prior constitutional violations, i.e. where a County
22   employee was found liable for violating an inmate’s constitutional rights. See Mueller v.
23   Auker, 700 F.3d 1180, 1194 (9th Cir. 2012) (four prior incidences were insufficient to put
24   the city on notice such that it could reasonably be said to have been deliberately
25   indifferent to the need for further training.). The Supreme Court’s decisions in City of
26   Canton, Bryan County, and Connick did not provide that merely listing all past events
27   incidences is sufficient to support a claim that a municipal federal civil violation by an
28

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 1   employee was caused by an inadequate program. Rather those cases require occurrence
 2   of a pattern of similar constitutional violations.
 3                5. The fifth claim (Monell) also fails to allege sufficient facts to support
 4                    municipal civil rights liability.
 5         Local governments “may not be sued under § 1983 for an injury inflicted solely by
 6   its employees or agents. Instead, it is when execution of a government’s policy or
 7   custom ... inflicts the injury that the government as an entity is responsible under §
 8   1983.” Monell, 436 U.S. at 694. To survive a motion to dismiss against the County, the
 9   complaint must sufficiently allege facts that support four elements: (1) Plaintiff was
10   deprived of a constitutional right; (2) the County had a policy or longstanding custom so
11   persistent and widespread that it constituted a permanent and well-settled policy; (3) the
12   policy amounted to deliberate indifference to plaintiffs’ constitutional rights; and (4) the
13   policy was the moving force behind the constitutional violation. Van Ort, 92 F.3d at 835;
14   Bd. of Comm’rs of Bryan County, 520 U.S. at 402-04; Trevino v. Gates, 99 F.3d 911, 918
15   (9th Cir. 1996). Plaintiff has the burden of proving official policy by more than a “bald
16   allegation.” Polk County v. Dodson, 454 U.S. 312, 326 (1981).
17         The Complaint falls far short of supplying sufficient factual allegations that
18   plausibly support the allegations against the County. Plaintiff simply lists a myriad of
19   purported customs and practices by Defendants. Significantly, the majority of the alleged
20   customs and practices relate to various other unrelated incidences. There is also no
21   factual support how the many “de facto” policies and customs alleged were the “moving
22   force” behind the constitutional violation presently at issue in the complaints. For
23   example, it is unclear how an alleged custom and practice or “hiding evidence” and
24   “lying under oath” was the moving force behind Plaintiff not receiving a bottom bunk or
25   his seizure medication. In regards to the allegations that the County had a “custom and
26   practice of not ensuring that deputies follow the policies and procedures with respect to
27   emergency calls in Housing units” [ECF No. 1 at ¶ 246), the only factual allegations in
28   support of this “custom” or “policy” are those alleged in the complaint at issue. These

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 1   unsupported custom and practice allegations are interspersed with allegations containing
 2   the buzzword “deliberately indifferent.” Id. at ¶¶ 234-258. Many are also conclusory.
 3   For example Plaintiff alleges there exists an “unconstitutional policy, ordinance or
 4   regulation which allowed their deputies and medical staff to deny medical care to
 5   inmates” and Defendants “failed to set forth any policies or conduct any self-evaluation
 6   of procedures and training under the Americans with Disability Act and the
 7   Rehabilitation Act for its personnel about how to handle encounters with persons who
 8   have a disability.” Id. at ¶¶ 235, 237. However, Plaintiff fails to show identify a single
 9   policy or practice supporting such allegations.
10         A complaint must contain factual content that allows the court to draw a reasonable
11   inference that the Defendant is liable for the misconduct alleged. Iqbal, 129 S.Ct. at
12   1949. Plaintiff has failed to support the alleged “de facto” polices and customs.
13   C. The Sixth Claim For Negligence Should Be Dismissed As It Fails To Allege Any
14      Actions By The Individual Defendants Sufficient To Impose Liability And The
        County Is Immune From State Law Claims Based On Injuries To Prisoners
15      Under Government Code Section 845.2 And 844.6.
16         A claim for negligence requires facts supporting duty, breach, causation and
17   damages. Ladd v. County of San Mateo, 12 Cal. 4th 913, 917 (1996). Here, the
18   Complaint fails to identify a cognizable legal duty owed by the individual defendants to
19   Plaintiff that was breached and caused his harm. The only allegations regarding Sheriff
20   Gore, Lee, and Dr. Joshua are that they failed to conduct evaluation of training and
21   procedures required under the ADA and Rehabilitation Act. [ECF No. 1 at ¶¶ 267-268.]
22   Yet, there is no duty by individuals to conduct ADA and Rehabilitation Act self-
23   evaluations. The ADA and Rehabilitation Act impose this responsibility on the public
24   entity, not its employees. 28 C.F.R. § 35.105(a)-(c)(“a public entity shall . . .”); 28 C.F.R.
25   § 35.105(d). Further, facts supporting a causal link between the missing assessment and
26   the Plaintiff’s harm are not supplied. In fact, none can be since any assessment
27   conducted would then need to be implemented through a transition plan implemented by
28   the public entity, not the individual defendants. 28 C.F.R. § 35.150(d)(1); 34 C.F.R. §

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 1   104.22(e). There is no viable claim for negligence stated against the individual
 2   defendants in the Complaint.
 3          The County is also immune from the negligence claim alleged in the Complaint.
 4   Beyond its immunity from common law negligence under California Government Code
 5   section 815, the County is specifically immune from liability for claims based on failure
 6   to provide adequate jails or for injuries to inmates. Government Code § 844.6 states, in
 7   relevant part, that “a public entity is not liable for . . . (2) An injury to any prisoner.” Cal.
 8   Govt. Code § 844.6(a) (2). Plaintiff’s injury is the gravamen of his claim. Courts have
 9   afforded this section a broad application. See Munson v. California, No. CIV S–09–0478,
10   2011 WL 284591, at *3 (E.D.Cal. Jan.25, 2011); Teter v. City of Newport Beach, 30
11   Cal.4th 446, 448–49 (2003); Savitt v. Jordan, 142 Cal.App.3d 820, 812–22 (1983)
12   (“Section 844.6, subdivision (a) explicitly provides that with the exception of certain
13   enumerated sections the immunity granted to public entities is absolute.”)); Badiggo v.
14   County of Ventura, 207 Cal.App.3d 357, 361 (1989). The County is immune for injuries
15   to Plaintiff.
16          Similarly, to the extent Plaintiff’s claim is based on the inadequacy of the jail
17   staffing and facilities such as the failure to provide him with sufficient bed or the
18   understaffing of the intake nurses (e.g. ECF No. 1 at ¶ 87) his claims are against all
19   Defendants are barred by California Government Code section 845.2. Section 845.2
20   provides, “neither a public entity nor a public employee is liable for . . . failure to provide
21   sufficient equipment, personnel or facilities [in a jail].” Courts have applied the statute to
22   bar claims for inadequate security systems, Taylor v. Buff, 172 Cal.App.3d 384 (1972),
23   and insufficient personnel, Estate of Abdollahi v. County of Sacramento, 405 F.Supp.2d
24   1194 (E.D.Cal.2005); Silverbrand v. Woodford, 2010 WL 3635780 (C.D.Cal.2010).
25   Thus, there can be no negligence claim against defendants based on inadequate staffing at
26   the jail.
27   ///
28   ///

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 1       D. The Seventh And Eighth Claims Plead Against The County Under The ADA
            And Rehabilitation Act Fail To Plead Facts Supporting Liability. 2
 2
 3         “To state a claim under Title II of the ADA, the plaintiff must allege: (1) he is an
 4   individual with a disability; (2) he is otherwise qualified to participate in or receive the
 5   benefit of some public entity’s services, programs, or activities; (3) he was either
 6   excluded from participation in or denied the benefits of the public entity’s services,
 7   programs, or activities, or was otherwise discriminated against by the public entity; and
 8   (4) such exclusion, denial of benefits, or discrimination was by reason of [his] disability.”
 9   Simmons v. Navajo City, Ariz., 609 F.3d 1011, 1021 (9th Cir. 2010.) Under both the
10   ADA and Rehabilitation Act, it is Plaintiff’s burden to establish that “he was excluded
11   from participating in or denied the benefits of the County’s services, programs, or
12   activities ‘by reason of [his] disability.’” Wilkey v. City of Orange, 295 F.Supp.3d 1086,
13   1092 (C.D. Cal. 2017). Moreover, “[t]he ADA prohibits discrimination because of
14   disability, not inadequate treatment for disability.” Simmons, 609 F.3d at 1022 (citing
15   Bryant v. Madigan, 84 F.3d 246, 249 (7th Cir. 1996).) Thus, absent evidence of
16   discriminatory intent, if allegations are that the defendants denied a plaintiff “mental
17   health medication and did not immediately provide him medically necessary care ... these
18   allegations do not state a claim under the ADA.” Wilkey v. City of Orange, 295
19   F.Supp.3d at 1093; see also Figueira by & through Castillo v. City of Sutter, 2015 WL
20   6449151, at *9 (E.D. Cal. Oct. 23, 2015) (“[D]efendants cannot have violated the ADA
21   by failing to attend to the medical needs of [mentally] disabled prisoners.”); Brown v.
22   Brown, 2015 WL 2374284, at *6 (E.D. Cal. May 18, 2015) (“[T]he, the underlying
23   allegations appear related solely to the medical care Plaintiff was provided, and the
24   treatment, or lack of treatment, concerning Plaintiff's medical conditions does not provide
25   a basis upon which to impose liability under the ADA.”); Arreola v. California Dep't of
26   Corr. & Rehab., 2017 WL 1196802, at *2 (N.D. Cal. Mar. 31, 2017)(“Simply alleging a
27
     2
       “There is no significant difference in analysis of the rights and obligations created by
28
     the ADA and the Rehabilitation Act.” Zukle v. Regents of Univ. of California, 166 F.3d
     1041, 1045 n.11 (9th Cir. 1999).
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 1   need for services is not enough. [Plaintiff] must plausibly allege that he was denied
 2   benefits or programs, or discriminated against, because of a disability.”)
 3         Although the Complaint alleges that Plaintiff is a qualified person with a disability,
 4   this is a conclusion and is not supported by the facts alleged in the Complaint. Plaintiff
 5   states he has a seizure disorder. Compl. ¶ 108, 111. However, a seizure disorder alone is
 6   not enough alone to make him disabled under the ADA or Rehabilitation Act. See
 7   Ramos-Echevarria v. Pichis, Inc., 698 F. Supp. 2d 262, 270 (D.P.R. 2010), aff'd, 659
 8   F.3d 182 (1st Cir. 2011) (seizure disorder alone, not enough to qualify as disability under
 9   ADA); White v. Sears, Roebuck & Co., No., 07CV4286NGGMDG, 2009 WL 1140434
10   (E.D.N.Y. Apr. 27, 2009) (individual not “disabled” under ADA simply because of
11   diagnosis of seizure disorder).
12         Further, the mere allegations that individual County employees did not have
13   specialized training, provide heightened medical care, and diligent surveillance does not
14   equate to discriminatory conduct. The mandate of Title II is that, when the public entity
15   operates a service, program or activity, it must simply ensure that the program “when
16   viewed in its entirety, is readily accessible to and usable by individuals with disabilities.”
17   28 C.F.R. § 35.150(a).
18         Plaintiff failed to provide any factual support that Plaintiff was excluded from
19   participating in or treated differently with respect to the services, programs, or activities
20   provided at the jail as a result of his seizures. Rather, the Complaint concludes that
21   Plaintiff was not provided reasonable accommodations because he was not given a
22   bottom bunk. However, this assignment was not because of his disability, rather the
23   Complaint alleges that “the corrections staff did not have knowledge of the special
24   housing requirement.” Furthermore, Plaintiff does not contend that he was excluded
25   from services by reason of his disability. Rather, his claim is that he was improperly
26   treated the same as other inmates because officials did not properly document his
27   disability. Thus, the Complaint fails to set forth any allegations that Decedent was
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 1   treated differently as a result of any discriminatory animus by the County. Accordingly,
 2   Decedent’s ADA and Rehabilitation Act claims should be dismissed, with prejudice.
 3
     E. The Requests For Declaratory And Injunctive Relief Are Moot And Should Be
 4      Dismissed.
 5         To obtain an injunction, the plaintiff must establish that a “real or immediate
 6   threat” exists that he will be wronged again. Los Angeles v. Lyons, 461 U.S. 95, 111
 7   (1983). Where the activities sought to be enjoined have already occurred, and the Court
 8   cannot undo what has already been done, and there is no prospective harm to the plaintiff,
 9   the action is moot and no injunction can be granted. ICR Graduate Sch. v. Honig, 758 F.
10   Supp. 1350, 1354-55 (S.D. Cal. 1991). Similarly, “[a] declaratory judgment…. is no
11   different from any other judgment. It will constitute relief, for purposes of § 1988, if, and
12   only if, it affects the behavior of the defendant toward the plaintiff.” Rhodes v. Stewart,
13   488 U.S. 1, 4 (1988). Once an inmate is no longer exposed to the “challenged policy or
14   practice,” declaratory relief would have no impact on the claimed rights or alleged injury.
15   See Alvarez v. Hill, 667 F.3d 1061, 1064 (9th Cir. 2012). Here, because Plaintiff is no
16   longer in Defendant’s custody, injunctive and declaratory relief would have no impact on
17   his claims and is moot.
18   F. The Allegations Regarding In-Custody Deaths And Unrelated Incidents And
        Punitive Damages Should Be Stricken As Immaterial, Scandalous, And
19      Impertinent.
20         Immaterial, scandalous, and impertinent matters may be stricken from a complaint.
21   Fed. R. Civ. P. 12(f). Immaterial means “that which has no essential or important
22   relationship to the claim for relief or the defenses being pleaded.” Fantasy v. Fogerty,
23   984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other grounds, 510 U.S. 517 (1994).
24   Impertinent means that the information does not pertain to the present action. Id.; see also
25   Quintana v. Baca, 233 F.R.D. 562, 564 (C.D. Cal. 2005) (“To be immaterial or
26   impertinent, the challenged material must have ‘no possible bearing on the
27   controversy.’”) “Scandalous” includes allegations that cast a cruelly derogatory light on a
28   party or other person.” In re 2TheMart.com, Inc. Sec. Litig., 114 F. Supp. 2d 955, 965

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 1   (C.D. Cal. 2000). Additionally, “courts often require a showing of prejudice by the
 2   moving party… The Ninth Circuit has stated that prejudice can arise from allegations that
 3   cause delay or confusion of the issues.” S.E.C. v. Sands, 902 F. Supp. 1149, 1166 (C.D.
 4   Cal. 1995), aff'd sub nom. S.E.C. v. First Pac. Bancorp, 142 F.3d 1186 (9th Cir. 1998).
 5         Plaintiff sets forth numerous unsupported allegations that are immaterial,
 6   impertinent, and scandalous. Plaintiff alleges “[t]here had been a systemic failure in San
 7   Diego County to investigate incidents of medical neglect, staff misconduct, serious
 8   injuries and deaths in the Jail” than proceeds to cite statistics set forth in a local
 9   newspaper and other allegations regarding suicides. [ECF No. 1 at ¶¶ 60-63, 71, 74, 79,
10   80, 81, 90, 91.] Plaintiff also cites to wholly unrelated incidents involving drug
11   overdoses and inmates with severe psychiatric issues. Id. at ¶¶ 60-63, 71, 75,-78, 80, 81,
12   83, 84, 89. Plaintiff also discusses CLERB, the grand jury, a report from Disability
13   Rights of California-which also discusses jail suicides, and generally alleges that there
14   was “staff misconduct.” Id. at ¶¶ 64, 96-107. Plaintiff generally avers that the County
15   officials targeted journalists, has attempted to oppress and silence the media, falsified
16   information, and lied under oath. Id. at ¶¶ 225-226. 249-251. Such allegations do not
17   pertain to the Plaintiff’s case. As such, they are impertinent, immaterial and scandalous.
18   (At best, this appears to be an attempt to use unrelated issues to make up for the lack of
19   prior constitutional violations supporting Monell liability.)
20         This information prejudices the County by confusing the discrete issues in the
21   present case: he administration of medication to Plaintiff, Plaintiff’s placement on a top
22   bunk due to communications between medical staff and sworn staff, whether Defendants
23   act deliberately indifferent to his medical needs after he fell, and whether these
24   allegations were the result of an unconstitutional policy, custom or practice. These are the
25   only issues which are presently before this Court and the only issues the County should
26   be defending against. Consequently, information presented in the Complaint should be
27   connected to these issues and not be used as a sounding board for every alleged
28   indiscretion Plaintiff credits to the County. Thus, paragraphs 56, 60, 61, 62, 63, 64, 65,

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 1   66, 67, 68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87, 88, 89,
 2   90, 91, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104, 105, 106, 107, 164-166, 192,
 3   193, 195, 206, 211, 212, 213, 214, 215, 216, 218, 219, 220, 221, 222, 223, 225, 224,
 4   225, 226, 231, 250, and 251 should be stricken from the complaint in accordance with
 5   Federal Rules of Civil Procedure, rule 12(f).
 6         Further, as addressed above, the allegations against Dr. Joshua, Lee, and Sheriff
 7   Gore do not allege adequate facts to support malicious, oppressive or reckless disregard
 8   of the Plaintiff’s rights. Dang v. Cross, 422 F.3d 800, 807 (9th Cir. 2005). The County is
 9   also immune from punitive damages. City of Newport v. Fact Concerts, Inc., 453 U.S.
10   247, 259-71 (1981). Thus Paragraphs 160, 302(3) seeking punitive damages should be
11   stricken.
12                                                 V.
13                                         CONCLUSION
14         For the forgoing reasons, Defendants respectfully request that the Court dismiss
15   Plaintiff’s complaint, or alternatively strike portions thereof.
16   DATED: June 10, 2019                    THOMAS E. MONTGOMERY, County Counsel
17                                           By: s/MELISSA M. HOLMES, Senior Deputy
18                                           Attorneys for Defendants County of San Diego,
                                             Sheriff William Gore, Alfred Joshua, M.D., and
19                                           Barbara Lee
                                             E-mail: melissa.holmes@sdcounty.ca.gov
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